         Case 1:21-cr-00433-BAH Document 34-1 Filed 06/06/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                     :
                                              :
               v.                             :       Criminal No. 21-cr-433 (BAH)
                                              :
GARY JAMES HARMON,                            :
                                              :
                       Defendant.             :

                                             ORDER

       Based upon the representations in the Unopposed Motion To Continue and To Exclude

Time Under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is GRANTED; it is further

       ORDERED that the currently scheduled status hearing on June 10, 2022, be continued for

good cause to July 8, 2022 at ____a.m./p.m.; and it is further

       ORDERED that the time between June 10, 2022 and July 8, 2022 shall be excluded from

calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds that the

ends of justice served by the granting of such a continuance outweighs the best interests of the

public and the defendant in a speedy trial, as a continuance will provide the parties additional time

to continue negotiating a potential pretrial resolution, additional time to review discovery, and it

will provide new defense counsel additional time to familiarize himself with the case.

       Dated this ______ day of June, 2022.



                                      ______________________________________
                                      BERYL A. HOWELL
                                      CHIEF JUDGE
                                      UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLUMBIA
